                Case 22-11068-JTD             Doc 27179-1          Filed 10/23/24           Page 1 of 2




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

FTX TRADING LTD., et al., 1                                      Case No. 22-11068 (JTD)

          Debtors.                                               (Jointly Administered)

                                                                 Hearing Date: December 12, 2024 at 1:00 P.M. (ET)
                                                                 Objection Deadline: December 6, 2024 at 4:00 P.M. (ET)




                                           NOTICE OF OBJECTION

TO:       (a) the U.S. Trustee; (b) counsel to the Committee; (c) the Securities and Exchange
          Commission; (d) the Internal Revenue Service; (e) the United States Department of
          Justice; (f) the United States Attorney for the District of Delaware; (g) counsel for the Ad
          Hoc Committee; (h) each claimant whose claim is subject to this Objection; and (i) to the
          extent not listed herein, those parties requesting notice pursuant to Bankruptcy Rule
          2002.

       On October 23, 2024, FTX Trading Ltd. and its affiliated debtors and debtors-in-
possession (the “Debtors”) filed the Debtors’ One Hundred Twenty-Third (Substantive) Omnibus
Objection to Certain Fully or Partially Unliquidated Proofs of Claim (Customer Claims)
(the “Objection”).

       Responses, if any, to the relief requested in the Objection must be filed with the United
States Bankruptcy Court, 824 North Market Street, 3rd Floor, Wilmington, Delaware 19801, on
or before December 6, 2024 at 4:00 P.M. (ET).

       At the same time, you must also serve a copy of the response upon the undersigned
counsel so as to be received no later than 4:00 P.M. (ET) on December 6, 2024.

       A HEARING ON THE OBJECTION WILL BE HELD ON DECEMBER 12, 2024 AT
1:00 P.M. (ET) BEFORE THE HONORABLE JOHN T. DORSEY, CHIEF UNITED STATES
BANKRUPTCY COURT JUDGE, IN THE UNITED STATES BANKRUPTCY COURT FOR
THE DISTRICT OF DELAWARE, 824 NORTH MARKET STREET, 5TH FLOOR,
COURTROOM 5, WILMINGTON, DELAWARE 19801.



1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



{1368.002-W0077802.2}
              Case 22-11068-JTD   Doc 27179-1   Filed 10/23/24    Page 2 of 2




     IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED IN THE OBJECTION WITHOUT FURTHER
NOTICE OR HEARING.

Dated: October 23, 2024               LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                      /s/ Matthew R. Pierce
                                      Adam G. Landis (No. 3407)
                                      Kimberly A. Brown (No. 5138)
                                      Matthew R. Pierce (No. 5946)
                                      919 Market Street, Suite 1800
                                      Wilmington, Delaware 19801
                                      Telephone: (302) 467-4400
                                      Facsimile: (302) 467-4450
                                      E-mail: landis@lrclaw.com
                                              brown@lrclaw.com
                                              pierce@lrclaw.com

                                      -and-

                                      SULLIVAN & CROMWELL LLP
                                      Andrew G. Dietderich (admitted pro hac vice)
                                      James L. Bromley (admitted pro hac vice)
                                      Brian D. Glueckstein (admitted pro hac vice)
                                      Alexa J. Kranzley (admitted pro hac vice)
                                      125 Broad Street
                                      New York, NY 10004
                                      Telephone: (212) 558-4000
                                      Facsimile: (212) 558-3588
                                      E-mail: dietdericha@sullcrom.com
                                              bromleyj@sullcrom.com
                                              gluecksteinb@sullcrom.com
                                              kranzleya@sullcrom.com

                                      Counsel for the Debtors and Debtors-in-Possession




{1368.002-W0077802.2}                     2
